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                                                                                                                           FREDERICK SANTACROCE, Esq.
                                                                                                                       2   Nevada Bar No. 5121
                                                                                                                       3   SANTACROCE LAW OFFICES, LTD.
                                                                                                                           706 S. 8th Street
                                                                                                                       4   Las Vegas, Nevada 89101
                                                                                                                           Telephone: (702) 598-1666 Fax: (702) 385-1327
                                                                                                                       5   Attorney for Defendant Vincent Hesser
                                                                                                                           and Ziasun, LLC
                                                                                                                       6

                                                                                                                       7                             UNITED STATES BANKRUPTCY COURT

                                                                                                                       8                               FOR THE DISTRICT OF NEVADA
                                                                                                                                                                   ***
                                                                                                                       9   In re:                                      Case No.: 08-14517
                                                                                                                           STEVEN D. MOLASKY,
                                                                                                                      10
                                                                                                                                                                     Chapter 11
                                                                                                                      11                Debtor.
Santacroce Law Offices, LTD




                                                                                                                           ______________________________________ Adversary No.: 10-01165
                                                                      Telephone: (702) 598‐1666 Fax: (702) 385‐1327




                                                                                                                      12   BRIAN D. SHAPIRO, the liquidating trustee
                              706 S. 8th St Las Vegas, Nevada 89101




                                                                                                                           of Steven D. Molasky Liquidating Trust,
                                                                                                                      13
                                                                                                                                        Plaintiff,
                                                                                                                      14
                                                                                                                                 v.
                                                                                                                      15                                                   DEFENDANTS ZIASUN LLC AND
                                                                                                                           ONECAP HOLDING CORPORATION, a                   VINCENT HESSER ANSWER TO
                                                                                                                      16   Nevada corporation; ZIASUN, LLC, a              AMENDED COMPLAINT; AND
                                                                                                                           Nevada limited liability company; and           CROSS-CLAIM
                                                                                                                      17   VINCENT HESSER, an individual,
                                                                                                                      18
                                                                                                                                       Defendants/Cross Claimants,
                                                                                                                      19
                                                                                                                           PHYLLIS WYNN, an individual
                                                                                                                      20
                                                                                                                                        Cross Defendant.
                                                                                                                      21

                                                                                                                      22
                                                                                                                                 Comes Now Defendants, VINCENT HESSER (“Hesser”) and ZIASUN, LLC
                                                                                                                      23
                                                                                                                           (“Ziasun”), by and through their counsel, FREDERICK A. SANTACROCE, ESQ., of the law
                                                                                                                      24
                                                                                                                           firm SANTACROCE LAW OFFICES, LTD., and respectfully submit their Answer to
                                                                                                                      25

                                                                                                                      26   Plaintiff’s Amended Complaint.

                                                                                                                      27   //

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                                                                                                                       1                                            I.
                                                                                                                                                    PARTIES, JURISDICTION, AND VENUE
                                                                                                                       2

                                                                                                                       3   A.     Plaintiff.

                                                                                                                       4          1.      Defendants are without knowledge or information sufficient to form a belief as

                                                                                                                       5   to the truth of the matters alleged in Paragraph 1 and, therefore, neither admits nor denies the
                                                                                                                       6   averments pursuant to Rule 8(b) of the FRCP.
                                                                                                                       7
                                                                                                                                  2.      Defendants are without knowledge or information sufficient to form a belief as
                                                                                                                       8
                                                                                                                           to the truth of the matters alleged in Paragraph 2 and, therefore, neither admits nor denies the
                                                                                                                       9
                                                                                                                           averments pursuant to Rule 8(b) of the FRCP.
                                                                                                                      10

                                                                                                                      11          3.      Defendants are without knowledge or information sufficient to form a belief as
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                                                                                                                      12   to the truth of the matters alleged in Paragraph 3 and, therefore, neither admits nor denies the
                              706 S. 8th St Las Vegas, Nevada 89101




                                                                                                                      13   averments pursuant to Rule 8(b) of the FRCP.
                                                                                                                      14
                                                                                                                                  4.      Defendants are without knowledge or information sufficient to form a belief as
                                                                                                                      15
                                                                                                                           to the truth of the matters alleged in Paragraph 4 and, therefore, neither admits, nor denies the
                                                                                                                      16
                                                                                                                           averments pursuant to Rule 8(b) of the FRCP.
                                                                                                                      17
                                                                                                                           B.     Defendant.
                                                                                                                      18

                                                                                                                      19          5.      Defendants admit the allegations set forth in Paragraph 5.

                                                                                                                      20          6       Defendants admit the allegations set forth in Paragraph 6.
                                                                                                                      21          7.      Defendant Hesser admits that he is an individual and that at all relevant times he
                                                                                                                      22
                                                                                                                           was a resident of Clark County, Nevada. Defendant further admits that he was an officer and
                                                                                                                      23
                                                                                                                           director of OneCap. Defendant denies the remaining allegations in Paragraph 7.
                                                                                                                      24
                                                                                                                           B.     Jurisdiction and Venue.
                                                                                                                      25

                                                                                                                      26          8.      Defendants are without knowledge or information sufficient to form a belief as

                                                                                                                      27   to the truth of the matters alleged in Paragraph 7 and, therefore, neither admits, nor denies the

                                                                                                                      28          averments pursuant to Rule 8(b) of the FRCP.


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                                                                                                                       1          9.      Paragraph 9 of Plaintiff’s Amended Complaint states a legal conclusion to
                                                                                                                       2   which no response is required. To the extent that a response is deemed necessary, said
                                                                                                                       3
                                                                                                                           averment is denied and strict proof thereof is demanded.
                                                                                                                       4
                                                                                                                                  10.     Defendants are without knowledge or information sufficient to form a belief as
                                                                                                                       5
                                                                                                                           to the truth of the matters alleged in Paragraph 9 and, therefore, neither admits, nor denies the
                                                                                                                       6

                                                                                                                       7   averments pursuant to Rule 8(b) of the FRCP.

                                                                                                                       8                                            II.
                                                                                                                                                           GENERAL ALLEGATIONS
                                                                                                                       9
                                                                                                                                  11.     Defendants are without knowledge or information sufficient to form a belief as
                                                                                                                      10

                                                                                                                      11   to the truth of the matters alleged in Paragraph 11 and, therefore, neither admits, nor denies the
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                                                                                                                      12   averments pursuant to Rule 8(b) of the FRCP.
                              706 S. 8th St Las Vegas, Nevada 89101




                                                                                                                      13          12.     Defendants are without knowledge or information sufficient to form a belief as
                                                                                                                      14
                                                                                                                           to the truth of the matters alleged in Paragraph 12 and, therefore, neither admits, nor denies the
                                                                                                                      15
                                                                                                                           averments pursuant to Rule 8(b) of the FRCP.
                                                                                                                      16
                                                                                                                                  13.     Defendants are without knowledge or information sufficient to form a belief as
                                                                                                                      17
                                                                                                                           to the truth of the matters alleged in Paragraph 13 and, therefore, neither admits, nor denies the
                                                                                                                      18

                                                                                                                      19   averments pursuant to Rule 8(b) of the FRCP.

                                                                                                                      20          14.     Defendants are without knowledge or information sufficient to form a belief as
                                                                                                                      21   to the truth of the matters alleged in Paragraph 14 and, therefore, neither admits, nor denies the
                                                                                                                      22
                                                                                                                           averments pursuant to Rule 8(b) of the FRCP.
                                                                                                                      23
                                                                                                                                  15.     Defendants deny the allegations set forth in Paragraph 15.
                                                                                                                      24
                                                                                                                                  16.     Defendants deny the allegations set forth in Paragraph 16.
                                                                                                                      25

                                                                                                                      26          17.     Defendants admit the allegations in Paragraph 17.

                                                                                                                      27          18.     Defendants admit the allegations in Paragraph 18.

                                                                                                                      28          19.     Defendants admit the allegations in Paragraph 19.


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                                                                                                                       1          20.     Defendants admit the allegations in Paragraph 20.
                                                                                                                       2          21.     Defendants deny the allegations in Paragraph 21.
                                                                                                                       3
                                                                                                                                  22.     Defendants deny the allegations in Paragraph 22.
                                                                                                                       4
                                                                                                                                  23.     Defendants are without knowledge or information sufficient to form a belief as
                                                                                                                       5
                                                                                                                           to the truth of the matters alleged in Paragraph 33 and, therefore, neither admits, nor denies the
                                                                                                                       6

                                                                                                                       7   averments pursuant to Rule 8(b) of the FRCP.

                                                                                                                       8                                             III.
                                                                                                                                                         FIRST CLAIM FOR RELIEF
                                                                                                                       9                  (Avoidance of The Transfer Pursuant to Section 548(a)(1)(B))
                                                                                                                      10
                                                                                                                                  24.     Paragraph 24 of the Amended Complaint does not call for an answer.
                                                                                                                      11
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                                                                                                                                  25.     Defendants are without knowledge or information sufficient to form a belief as
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                                                                                                                      12
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                                                                                                                                  to the truth of the matters alleged in Paragraph 33 and, therefore, neither admits, nor
                                                                                                                      13
                                                                                                                           denies the averments pursuant to Rule 8(b) of the FRCP.
                                                                                                                      14

                                                                                                                      15          26.     Defendants are without knowledge or information sufficient to form a belief as

                                                                                                                      16   to the truth of the matters alleged in Paragraph 33 and, therefore, neither admits, nor denies the
                                                                                                                      17   averments pursuant to Rule 8(b) of the FRCP.
                                                                                                                      18
                                                                                                                                  27.     Defendants deny the allegations in Paragraph 27.
                                                                                                                      19
                                                                                                                                  28.     Defendants deny the allegations in Paragraph 28.
                                                                                                                      20
                                                                                                                                  29.     Defendants are without knowledge or information sufficient to form a belief as
                                                                                                                      21

                                                                                                                      22   to the truth of the matters alleged in Paragraph 29 and, therefore, neither admits, nor denies the

                                                                                                                      23   averments pursuant to Rule 8(b) of the FRCP.

                                                                                                                      24          30.     Defendants are without knowledge or information sufficient to form a belief as
                                                                                                                      25   to the truth of the matters alleged in Paragraph 30 and, therefore, neither admits, nor denies the
                                                                                                                      26
                                                                                                                           averments pursuant to Rule 8(b) of the FRCP.
                                                                                                                      27
                                                                                                                      28


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                                                                                                                       1          31.     Defendants deny the allegations in Paragraph 31.
                                                                                                                       2                                            IV.
                                                                                                                       3                              SECOND CLAIM FOR RELIEF
                                                                                                                                 (Avoidance of The Transfer Pursuant to NRS 112.180(1)(B) AND Section 544)
                                                                                                                       4
                                                                                                                                  32.     Paragraph 32 of the Amended Complaint does not call for an answer.
                                                                                                                       5
                                                                                                                                  33.     Defendants are without knowledge or information sufficient to form a belief as
                                                                                                                       6

                                                                                                                       7   to the truth of the matters alleged in Paragraph 33 and, therefore, neither admits, nor denies the

                                                                                                                       8   averments pursuant to Rule 8(b) of the FRCP.

                                                                                                                       9          34.     Defendants are without knowledge or information sufficient to form a belief as
                                                                                                                      10
                                                                                                                           to the truth of the matters alleged in Paragraph 34 and, therefore, neither admits, nor denies the
                                                                                                                      11
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                                                                                                                           averments pursuant to Rule 8(b) of the FRCP.
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                                                                                                                                  35.     Defendants deny the allegations in Paragraph 35.
                                                                                                                      13
                                                                                                                                  36.     Defendants are without knowledge or information sufficient to form a belief as
                                                                                                                      14

                                                                                                                      15   to the truth of the matters alleged in Paragraph 36 and, therefore, neither admits, nor denies the

                                                                                                                      16   averments pursuant to Rule 8(b) of the FRCP.
                                                                                                                      17          37.     Defendants are without knowledge or information sufficient to form a belief as
                                                                                                                      18
                                                                                                                           to the truth of the matters alleged in Paragraph 37 and, therefore, neither admits, nor denies the
                                                                                                                      19
                                                                                                                           averments pursuant to Rule 8(b) of the FRCP.
                                                                                                                      20
                                                                                                                                  38.     Defendants are without knowledge or information sufficient to form a belief as
                                                                                                                      21

                                                                                                                      22   to the truth of the matters alleged in Paragraph 38 and, therefore, neither admits, nor denies the

                                                                                                                      23   averments pursuant to Rule 8(b) of the FRCP.

                                                                                                                      24          39.     Defendants are without knowledge or information sufficient to form a belief as
                                                                                                                      25   to the truth of the matters alleged in Paragraph 38 and, therefore, neither admits, nor denies the
                                                                                                                      26
                                                                                                                           averments pursuant to Rule 8(b) of the FRCP.
                                                                                                                      27
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                                                                                                                       1          40.     Defendants are without knowledge or information sufficient to form a belief as
                                                                                                                       2   to the truth of the matters alleged in Paragraph 40 and, therefore, neither admits, nor denies the
                                                                                                                       3
                                                                                                                           averments pursuant to Rule 8(b) of the FRCP.
                                                                                                                       4
                                                                                                                                  41.     Defendants deny the allegations in Paragraph 41.
                                                                                                                       5
                                                                                                                                                                       V.
                                                                                                                       6                                THIRD CLAIM FOR RELIEF
                                                                                                                       7                 (Avoidance of Preferential Transfer Pursuant to Section 547(b))

                                                                                                                       8          42.     Paragraph 42 of the Amended Complaint does not call for an answer.

                                                                                                                       9          43.     Defendants admit the allegations in Paragraph 43.
                                                                                                                      10
                                                                                                                                  44.     Defendants admit the allegations in Paragraph 44.
                                                                                                                      11
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                                                                                                                                  45.     Defendants deny the allegations in Paragraph 45.
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                                                                                                                                  46.     Defendants deny the allegations in Paragraph 46.
                                                                                                                      13
                                                                                                                                  47.     Defendants are without knowledge or information sufficient to form a belief as
                                                                                                                      14

                                                                                                                      15   to the truth of the matters alleged in Paragraph 47 and, therefore, neither admits, nor denies the

                                                                                                                      16   averments pursuant to Rule 8(b) of the FRCP.
                                                                                                                      17          48.     Defendants are without knowledge or information sufficient to form a belief as
                                                                                                                      18
                                                                                                                           to the truth of the matters alleged in Paragraph 28 and, therefore, neither admits, nor denies the
                                                                                                                      19
                                                                                                                           averments pursuant to Rule 8(b) of the FRCP.
                                                                                                                      20
                                                                                                                                  49.     Defendants are without knowledge or information sufficient to form a belief as
                                                                                                                      21

                                                                                                                      22   to the truth of the matters alleged in Paragraph 49 and, therefore, neither admits, nor denies the

                                                                                                                      23   averments pursuant to Rule 8(b) of the FRCP.

                                                                                                                      24          50.     Defendants are without knowledge or information sufficient to form a belief as
                                                                                                                      25   to the truth of the matters alleged in Paragraph 50 and, therefore, neither admits, nor denies the
                                                                                                                      26
                                                                                                                           averments pursuant to Rule 8(b) of the FRCP.
                                                                                                                      27
                                                                                                                      28


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                                                                                                                       1          51.     Defendants are without knowledge or information sufficient to form a belief as
                                                                                                                       2   to the truth of the matters alleged in Paragraph 51 and, therefore, neither admits, nor denies the
                                                                                                                       3
                                                                                                                           averments pursuant to Rule 8(b) of the FRCP.
                                                                                                                       4
                                                                                                                                  52.     Defendants are without knowledge or information sufficient to form a belief as
                                                                                                                       5
                                                                                                                           to the truth of the matters alleged in Paragraph 52 and, therefore, neither admits, nor denies the
                                                                                                                       6

                                                                                                                       7   averments pursuant to Rule 8(b) of the FRCP.

                                                                                                                       8          53.     Defendants are without knowledge or information sufficient to form a belief as

                                                                                                                       9   to the truth of the matters alleged in Paragraph 53 and, therefore, neither admits, nor denies the
                                                                                                                      10
                                                                                                                           averments pursuant to Rule 8(b) of the FRCP.
                                                                                                                      11
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                                                                                                                                  54.     Defendants are without knowledge or information sufficient to form a belief as
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                                                                                                                      12
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                                                                                                                           to the truth of the matters alleged in Paragraph 54 and, therefore, neither admits, nor denies the
                                                                                                                      13
                                                                                                                           averments pursuant to Rule 8(b) of the FRCP.
                                                                                                                      14

                                                                                                                      15                                             VI.
                                                                                                                                                       FOURTH CLAIM FOR RELIEF
                                                                                                                      16                   (Recovery of Fraudulent Transfer Pursuant to Section 550)
                                                                                                                      17          55.     Paragraph 55 of the Amended Complaint does not call for an answer.
                                                                                                                      18
                                                                                                                                  56.     Defendants admit the allegations in Paragraph 56.
                                                                                                                      19
                                                                                                                                  57.     Defendants deny the allegations in Paragraph 57.
                                                                                                                      20
                                                                                                                                  58.     Defendants deny the allegations in Paragraph 58.
                                                                                                                      21

                                                                                                                      22          59.     Defendants deny the allegations in Paragraph 59.

                                                                                                                      23                                               VII.
                                                                                                                                                           FIFTH CLAIM FOR RELIEF
                                                                                                                      24                                       (Unjust Enrichment)
                                                                                                                      25          60.     Paragraph 60 of the Amended Complaint does not call for an answer.
                                                                                                                      26
                                                                                                                                  61.     Defendants deny the allegations in Paragraph 61.
                                                                                                                      27
                                                                                                                                  62.     Defendants deny the allegations in Paragraph 62.
                                                                                                                      28


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                                                                                                                       1          63.     Defendants deny the allegations in Paragraph 63.
                                                                                                                       2          64.     Defendants deny the allegations in Paragraph 64.
                                                                                                                       3
                                                                                                                                                                      VIII.
                                                                                                                       4                                    SIXTH CLAIM FOR RELIEF
                                                                                                                                                             (Money Had And Received)
                                                                                                                       5
                                                                                                                                  65.     Paragraph 65 of the Amended Complaint does not call for an answer.
                                                                                                                       6

                                                                                                                       7          66.     Defendants deny the allegations in Paragraph 66.

                                                                                                                       8          67.     Defendants deny the allegations in Paragraph 67.

                                                                                                                       9          68.     Defendants deny the allegations in Paragraph 68.
                                                                                                                      10
                                                                                                                                                                      IX.
                                                                                                                      11                                  SEVENTH CLAIM FOR RELIEF
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                                                                                                                                                                  (Alter Ego)
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                                                                                                                      12
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                                                                                                                                  69.     Paragraph 69 of the Amended Complaint does not call for an answer.
                                                                                                                      13
                                                                                                                                  70.     Defendants deny the allegations in Paragraph 70.
                                                                                                                      14

                                                                                                                      15          71.     Defendants deny the allegations in Paragraph 71.

                                                                                                                      16          72.     Defendants deny the allegations in Paragraph 72.
                                                                                                                      17          73. Defendants deny the allegations in Paragraph 73.
                                                                                                                      18
                                                                                                                                                            AFFIRMATIVE DEFENSES
                                                                                                                      19
                                                                                                                                  74.     These Defendants herein refer to and incorporate the previously set forth
                                                                                                                      20
                                                                                                                           responses as if stated at length herein.
                                                                                                                      21

                                                                                                                      22                                 FIRST AFFIRMATIVE DEFENSE

                                                                                                                      23          75.     Defendant specifically deny any and all averments not specifically admitted in

                                                                                                                      24   its Answer.
                                                                                                                      25                               SECOND AFFIRMATIVE DEFENSE
                                                                                                                      26
                                                                                                                                  76.     To the extent justified by the evidence developed in discovery or the testimony
                                                                                                                      27
                                                                                                                           at the time of trial, Plaintiff’s Adversary Complaint fails to state a claim against Defendants
                                                                                                                      28


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                                                                                                                       1   upon which relief may be granted.
                                                                                                                       2                                THIRD AFFIRMATIVE DEFENSE
                                                                                                                       3
                                                                                                                                  77.     To the extent justified by the evidence developed in discovery or the testimony
                                                                                                                       4
                                                                                                                           at the time of trial, this Defendant raises all Affirmative Defenses set fourth in the Federal rules
                                                                                                                       5
                                                                                                                           of Civil Procedure to the Plaintiff’s claims, including, but not limited to the legal doctrines of
                                                                                                                       6

                                                                                                                       7   payment, accord and satisfaction, releases, waiver, estoppel, laches and the statutes of

                                                                                                                       8   limitations.

                                                                                                                       9                               FOURTH AFFIRMATIVE DEFENSE
                                                                                                                      10
                                                                                                                                  78.     The transfer alleged is exempt from recovery pursuant to the Bankruptcy Code.
                                                                                                                      11
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                                                                                                                                                        FIFTH AFFIRMATIVE DEFENSE
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                                                                                                                      12
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                                                                                                                                  79.     The transfer that is the subject of this Complaint was intended by the
                                                                                                                      13
                                                                                                                           transferring Debtor and Defendants to be a contemporaneous exchange for new value given
                                                                                                                      14

                                                                                                                      15   and were in fact a substantially contemporaneous exchange. Based on the foregoing, the

                                                                                                                      16   Transfers are immune from avoidance pursuant to Bankruptcy Code Section 547(c)(1)
                                                                                                                      17                                SIXTH AFFIRMATIVE DEFENSE
                                                                                                                      18
                                                                                                                                  80.     The Transfer was made: (a) in the satisfaction of a debt incurred by the Debtor
                                                                                                                      19
                                                                                                                           in the ordinary course of the business or financial affairs of the Transferring Debtor and
                                                                                                                      20
                                                                                                                           Defendants; (b) in the ordinary course of business or financial affairs of the Transferring
                                                                                                                      21

                                                                                                                      22   Debtor and Defendants; and (c) according to business terms. Based upon the foregoing, the

                                                                                                                      23   Transfer is immune from avoidance pursuant to Bankruptcy Code Section 547(c)(2).

                                                                                                                      24                              SEVENTH AFFIRMATIVE DEFENSE
                                                                                                                      25          81.     After or concurrently with the date of the Transfer Defendants gave subsequent
                                                                                                                      26
                                                                                                                           new value to or for the benefit of the Debtor that was not secured by an otherwise unavoidable
                                                                                                                      27
                                                                                                                      28


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                                                                                                                       1   security interest, and on account of such new value the, the Debtor did make an otherwise
                                                                                                                       2   unavoidable transfer to or for the benefit of Defendants.
                                                                                                                       3
                                                                                                                                                      EIGHTH AFFIRMATIVE DEFENSE
                                                                                                                       4
                                                                                                                                  82.     To the extent justified by the evidence developed in discovery or the testimony
                                                                                                                       5
                                                                                                                           at the time of trial, these Defendants reserve the right to assert any and all other affirmative
                                                                                                                       6

                                                                                                                       7   defenses, which discovery may reveal appropriate and/or proper.

                                                                                                                       8                                          CROSS-CLAIM

                                                                                                                       9   Summary
                                                                                                                      10
                                                                                                                                  83.     Trustee has filed an adversary claim against Defendant(s) seeking (1)
                                                                                                                      11
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                                                                                                                           Avoidance Of The Transfer Pursuant To Section 548(a)(1)(B); and (2) Avoidance Of
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                                                                                                                      12
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                                                                                                                           Fraudulent Transfer Pursuant To NRS 112.180(1)(b) And Section 544.
                                                                                                                      13
                                                                                                                                  84.     The transfer alleged is exempt from recovery pursuant to the Bankruptcy Code.
                                                                                                                      14

                                                                                                                      15          85.     The transfer that is the subject of this Complaint was intended by the

                                                                                                                      16   Transferring Debtor and Defendants to be a contemporaneous exchange for new value given
                                                                                                                      17   and was in fact a substantially contemporaneous exchange. Based on the foregoing, the
                                                                                                                      18
                                                                                                                           Transfers are immune from avoidance pursuant to Bankruptcy Code section 547(c)(l).
                                                                                                                      19
                                                                                                                                  86. The Transfer constitutes as secured debt to a secured creditor.
                                                                                                                      20
                                                                                                                                  87. The Transfer was made: (a) in satisfaction of a debt incurred by the Debtor in the
                                                                                                                      21

                                                                                                                      22   ordinary course of the business or financial affairs of the Transferring Debtor and Defendant;

                                                                                                                      23   (b) in the ordinary course of business or financial affairs of the Transferring Debtor and

                                                                                                                      24   Defendant; and (c) according to ordinary business terms. Based upon the foregoing, the
                                                                                                                      25   Transfer is immune from avoidance pursuant to Bankruptcy Code section 547(c)(2).
                                                                                                                      26
                                                                                                                                  88.     After or concurrently with the date of the Transfer, Defendants gave subsequent
                                                                                                                      27
                                                                                                                      28


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                                                                                                                       1   new value to or for the benefit of the Debtor that was not secured by an otherwise unavoidable
                                                                                                                       2   security interest, and on account of such new value the Debtor did not make an otherwise
                                                                                                                       3
                                                                                                                           unavoidable transfer to or for the benefit of Defendant. Based upon the foregoing, the Transfer
                                                                                                                       4
                                                                                                                           is immune from avoidance pursuant to Bankruptcy Code section 547(c)(4).
                                                                                                                       5
                                                                                                                           The Parties
                                                                                                                       6

                                                                                                                       7          89.     OneCap Holding Corporation ("OneCap") is a corporation duly organized and

                                                                                                                       8   existing under the laws of the State of Nevada, with its principal place of business located in

                                                                                                                       9   Clark County, Nevada.     On June 10, 2010 a Chapter 7 Bankruptcy proceeding was filed on
                                                                                                                      10
                                                                                                                           behalf of Defendant, ONECAP HOLDING CORPORATION, in the United States Bankruptcy
                                                                                                                      11
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                                                                                                                           Court in Las Vegas, Nevada, being Case No. BK-S 10-20833-BAM, which case has been
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                                                                                                                           pending without interruption since that date.
                                                                                                                      13
                                                                                                                                  90.     Ziasun, LLC ("Ziasun") is a limited liability company duly organized and
                                                                                                                      14

                                                                                                                      15   existing under the laws of the State of Nevada, with its principal place of business located in

                                                                                                                      16   Clark County, Nevada.
                                                                                                                      17          91.     Pacific Hampden, LLC ("Pacific Hampden") is a Nevada limited liability
                                                                                                                      18
                                                                                                                           company.
                                                                                                                      19
                                                                                                                                  92.     Phyllis Wynn (“Wynn”) is an individual and at all relevant times residing in
                                                                                                                      20
                                                                                                                           Clark County, Nevada.
                                                                                                                      21

                                                                                                                      22          93.     Defendant’s alleged liability to Plaintiffs, if any, that may result in a finding

                                                                                                                      23   against Defendants as to the alleged preferential transfer should result in liability as to any

                                                                                                                      24   concurrent or subsequent transferees or recipients of the proceeds at issue.
                                                                                                                      25                                   GENERAL ALLEGATIONS
                                                                                                                      26
                                                                                                                                  94.     On July 31, 2007, Debtor executed a promissory note, in the amount of
                                                                                                                      27
                                                                                                                           $1,000,000 due fully payable and due on August 10, 2007.
                                                                                                                      28


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                                                                                                                       1          95.     The promissory note included a personal continuing guarantee executed by
                                                                                                                       2   Debtor.
                                                                                                                       3
                                                                                                                                  96.     The Defendants filed a UCC Statement on September 17, 2007.
                                                                                                                       4
                                                                                                                                  97.     In or about the first quarter of 2008, Pacific Hampden sold (the "Sale") certain
                                                                                                                       5
                                                                                                                           of its assets to Windsor at the District, LLC ("Windsor").
                                                                                                                       6

                                                                                                                       7          98.     At least $3 million from the proceeds of the sale received from Windsor was

                                                                                                                       8   secured pursuant to the Promissory Note, The Continuing Guaranty, and the UCC Filing.

                                                                                                                       9          99.     In addition to the Promissory Note, Pacific Hamden also owed Defendants and
                                                                                                                      10
                                                                                                                           its assignees $6,000,000 secured by a deed of trust on the Pacific Hamden Property and
                                                                                                                      11
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                                                                                                                           similarly included a promissory note and a personal guarantee executed by Debtor.
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                                                                                                                                  100.    In accordance with the loan documents, prior to the sale, the title company
                                                                                                                      13
                                                                                                                           requested a payoff demand to release the security interest Defendants held so as to close
                                                                                                                      14

                                                                                                                      15   escrow on the Sale. Defendants submitted a payoff demand to the title company on January 7,

                                                                                                                      16   2008 in the amount of $8,262,263.39.
                                                                                                                      17          101.    Debtor negotiated and bargained for a reduced payoff to Defendants in the
                                                                                                                      18
                                                                                                                           amount of $6,766,263.43 to be paid through escrow, and $1,000,000 to be paid upon closing of
                                                                                                                      19
                                                                                                                           the sale which occurred on or about January 28, 2008. As a result debtor received a benefit
                                                                                                                      20
                                                                                                                           valued at more than $500,000.
                                                                                                                      21

                                                                                                                      22          102.    Pacific Hampden, issued a check in the name of OneCap in the sum of $1

                                                                                                                      23   million in contemporaneous exchange for new value and in consideration for the release of

                                                                                                                      24   collateral from escrow. On or about February 6, 2008, OneCap deposited the Check into its
                                                                                                                      25   business checking account ending in 5492 held with Bank of America, N.A. (the "BofA
                                                                                                                      26
                                                                                                                           Account").
                                                                                                                      27
                                                                                                                      28


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                                                                                                                       1           103.    On or about February 8, 2008, from its BofA Account, OneCap transferred by
                                                                                                                       2   wire the $1 million Transfer to Ziasun directing Ziasun to forward payment on behalf of and
                                                                                                                       3
                                                                                                                           for the benefit of OneCap Holding to a creditor of OneCap Holding (Phyllis Wynn).
                                                                                                                       4
                                                                                                                                   104.    Ms. Wynn received a total of $500,000.
                                                                                                                       5
                                                                                                                                   105.    The remainder was returned to OneCap Holding within 30 days.
                                                                                                                       6

                                                                                                                       7           106.    Ziasun and Hesser never received any value or benefit as a result of the transfer.

                                                                                                                       8           107.    Ziasun never exercised any dominion or control over the subject funds.

                                                                                                                       9                                                 Count I
                                                                                                                                                                      CONTRIBUTION
                                                                                                                      10
                                                                                                                                   108.    This defendant herein refers to an incorporates its previously set forth responses
                                                                                                                      11
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                                                                                                                      12   as if set fourth fully at length herein.
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                                                                                                                      13           109.    In the event Plaintiffs are able to recover any part of their alleged damages from

                                                                                                                      14   Defendants – which damages Defendants denies – then Wynn should be held responsible for
                                                                                                                      15   the amount she received.
                                                                                                                      16
                                                                                                                                   110.    Defendants are entitled to contribution from Wynn in the amount of $500,000.
                                                                                                                      17
                                                                                                                                                                      Count II
                                                                                                                      18                                          INDEMNIFICATION

                                                                                                                      19           111.    This defendant herein refers to an incorporates its previously set forth responses
                                                                                                                      20   as if set fourth fully at length herein.
                                                                                                                      21
                                                                                                                                   112.    In the event Plaintiffs are able to recover any part of their alleged damages from
                                                                                                                      22
                                                                                                                           Defendants – which damages Defendants denies – then Wynn should be held responsible for
                                                                                                                      23
                                                                                                                           the amount she received.
                                                                                                                      24

                                                                                                                      25           113.    Defendants are entitled to indemnification from Wynn in the amount of

                                                                                                                      26                   $500,000.

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                                                                                                                       1          WHEREFORE, Defendants respectfully requests that this Court:
                                                                                                                       2          (1) Enter judgment in favor of Defendants on the Complaint, dismissing it with
                                                                                                                       3
                                                                                                                           prejudice; or, in the alternative, grant Defendants’ cross-claims for indemnity and contribution
                                                                                                                       4
                                                                                                                           in the amount of $500,000;
                                                                                                                       5
                                                                                                                           (2) Award Defendants its fees, costs and disbursements in this action; and further relief as this
                                                                                                                       6

                                                                                                                       7   Court may deem just and proper.

                                                                                                                       8          Dated this 11th day of May, 2011.

                                                                                                                       9                                                         SANTACROCE LAW OFFICES, LTD.
                                                                                                                      10
                                                                                                                                                                                  /s/ Frederick A. Santacroce, Esq.
                                                                                                                      11                                                         ______________________________
Santacroce Law Offices, LTD




                                                                                                                                                                                 FREDERICK SANTACROCE, ESQ.
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                                                                                                                      12                                                         Nevada Bar No. 5121
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                                                                                                                                                                                 SANTACROCE LAW OFFICES, LTD
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                                                                                                                                                                                 Las Vegas, Nevada 89101
                                                                                                                      14
                                                                                                                                                                                 Telephone: (702) 598-1666
                                                                                                                      15                                                         Fax: (702) 385-1327
                                                                                                                                                                                 Attorney for Defendant Vincent Hesser
                                                                                                                      16                                                         and Ziasun, LLC
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